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                        UNITED STATES DISTRICT COURT
                         NORTHERN DISTRICT OF TEXAS
                             AMARILLO DIVISION


STATE OF TEXAS et. al.,

               Plaintiffs,

v.                                                     Case No. 2:24-cv-86-Z

THE UNITED STATES OF AMERICA,
et. al.,

               Defendants.


   CITIZENS DEFENDING FREEDOM’S MOTION FOR LEAVE TO FILE
AMICUS CURIAE BRIEF IN SUPPORT OF PLAINTIFFS’ MOTION FOR STAY
        OF AGENCY ACTION AND PRELIMINARY INJUNCTION

        Pursuant to Local Rule 7.2(b), Citizens Defending Freedom respectfully moves

this Court for leave to file the attached amicus curiae brief in support of Plaintiffs’

Motion for Stay of Agency Action and Preliminary Injunction, Dkt. No. 13. As set

forth in the enclosed Certificate of Conference, all parties consent to Citizens

Defending Freedom’s motion for leave to file a brief as amicus curiae.

        Citizens Defending Freedom is a nonprofit, utilizing its resources to ensure

every American citizen is equipped and empowered to stand for and preserve their

constitutional rights and freedoms for themselves and future generations. Citizens

Defending Freedom is committed to helping ensure federal agencies do not

promulgate final rules that are unconstitutional or impose additional compliance

costs of its members, the public, parents, or students. Its purpose includes educating

the American public on issues that must be considered in a Title IX ruling on these
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critical issues. The outcome of this case will have a direct effect on Citizens Defending

Freedom, including decisions on allocating its resources.

      The Final Rule at issue suffers from many defects, including infringing upon

the separation of powers and due process protections enshrined in the United States

Constitution. While the individual parties may not be able or have standing to

address these concerns, Citizens Defending Freedom is well-positioned to brief these

issues in detail and does so below. Finally, Amicus’s counsel, the Binnall Law Group,

has extensive experience in the Title IX process including representing individuals

on the school level and in litigation before federal courts. The attached amicus curiae

brief would therefore aid the Court in deciding these important issues.

      Because this brief is filed before briefing by the parties has been completed or

a decision has been issued on this motion, the brief is timely and neither party will

be prejudiced. Amicus therefore respectfully requests leave to file the attached

amicus curiae brief.


Dated: June 26, 2024                            Respectfully submitted,

                                                /s/   Molly McCann
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                                               *Pro hac vice forthcoming

                                               Counsel    for   Citizens    Defending
                                               Freedom




                        CERTIFICATE OF CONFERENCE


      I hereby certify that, on June 19, 2024, counsel for amicus conferred with all

parties’ counsel regarding the contents of this motion. Both parties do not oppose this

motion.



                                               /s/   Molly McCann
                                               Molly McCann




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                           CERTIFICATE OF SERVICE


      I certify that on June 26, 2024, a copy of the foregoing was filed with the Clerk

of the Court using the Court’s CM/ECF system, which will send a copy to all counsel

of record.



                                              /s/    Molly McCann
                                              Molly McCann


                                              Attorney    for   Citizens    Defending
                                              Freedom




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